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                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN

 Lac Courte Oreilles Financial Services, LLC,
 Hummingbird Funds, LLC, Miinan Funds,           Case No. 3:22-cv-00344
 LLC,
                        Plaintiffs,

 v.
                                                      NOTICE OF APPEARANCE OF
 Cane Bay Partners VI, LLP, Dimension                   TIFFANY A. BLOFIELD
 Credit (Cayman), L.P., Strategic Link
 Consulting, LP, Esoteric Ventures, LLC,
 InfoTel International Ltd., M. Mark High,
 Ltd., Kirk Chewning, David Johnson, Kim
 Anderson, Jay Clark, and DOES 1-20,

                        Defendants.


TO THE CLERK OF THE COURT AND ALL PARTIES:

        PLEASE NOTE THE APPEARANCE OF Tiffany A. Blofield of Greenberg Traurig, LLP,

on behalf of Defendants Cane Bay Partners VI, LLP, Strategic Link Consulting, LP, Esoteric

Ventures, LLC, InfoTel International Ltd., M. Mark High, Ltd., Kirk Chewning, David Johnson,

Kim Anderson, and Jay Clark in the above-captioned matter.

Dated: June 23, 2022

                                      By:    s/ Tiffany A. Blofield
                                             Tiffany A. Blofield (0237279)
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                                             LLP, Strategic Link Consulting, LP, Esoteric
                                             Ventures, LLC, InfoTel International Ltd., M. Mark
                                             High, Ltd., Kirk Chewning, David Johnson, Kim
                                             Anderson, and Jay Clark
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